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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
Fort WOl"th DIVISION

MO-l (3/07)

 

 

 

 

 

 

 

 

 

 

 

 

HoNoRABLE Terrv R~ N\ean$ PRESIDING COURT REPORTEWTAPE: D@bbi€ Saenz
DEPUTY CLERK Carmen Bush USPO Joshua Whitflll
LAW CLERK INTERPRETER
CR. No. 4r18-CR-082-Y DEFT. No. (1)
UNITED STATES OF AMERICA § Aisha Sa|eem, AUSA
§
v. §
§
YOUSEF HEND| § Stephen E Gordon, (R)
Defendant's Name Counsel for Deft. Appt-(A), Retd-(R), FPD-(F)
§ENTENQIN§`;

Dare Held; l 1448

Hearing Type: Sentencing Hearing - Contested \j Sentencing Hearing - Non-Evidentiary

Time in Court: 40 mms-

Trial Status: Completed by Jury Verdict l:l Continued from Previous Month |:l Directed Verdict ij Evidence Entered
l:ll-lung Jury I:_\ Jury Selection Only, continued |:\ Jury Selection or Verdict Only (No Trial Before this Judge)
[jl\/listrial :l Settled/Guilty Plea l:l None

Days in Trial;

Hearing Concluded:X - Yes l:l No

Sentencing held. m Objections to PSI heard. l:l Plea agreement accepted I:] Plea agreement NOT accepted
|:l Sentencing Guidelines l:lDeparts Upward |:J Departs Downward

 

 

SENTENCING TEXT:
g . . Deft placed on: Probation for
. . Deft committed to custody of the AG/BOP to be imprisoned for a TOTAL term of 240 months*
. . Deft. placed on: Supervised Released for 10 Year$ ** .
g . . Restitution ordered in the amount of $ and/or Fine imposed in the amount of $
. . ount(s) 1smlsse on overnment's motion.
[l c d' ' d g '
m . . Order dismissing original Indictment/Information to be entered upon govemment's written motion.
. . $ 200'00 special assessment on Count(s) l 81 2
of l"_ Complaint l:] Indictment l:l Information m Superseding Indictment Superseding Information_
[:| ....... Deft ordered to surrender to the designated institution on .
|:l ....... Deft failed to appear, bench warrant to issue. F l L E D
l:l ....... Bond l:l continued g revoked
....... Deft Advised of his right to appeal. Novem ber 01 ! 201 8
l:l ....... Deft requests Clerk to enter notice oprpeal. KAREN M|TCHE|-L
....... Deft Custody/Detention continued CLERK' U‘S' D|STR|CT COURT
[:l ....... Deft REMANDED to custody. Court recommends incarceration at

 

OTHER pROCEEDINGS/INFORMATION; * as to count one, and 240 months as to count two, to run consecutively to count one,

 

for a total of 480 months.
** as to counts one and two, to run concurrently with each other, fora total term of 10 years.
Govt's Witness, special agent Mitchell, sworn & testiHed.

 

Attorney admissions: (Ol).

